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                                          CASE No. 25-2028



                      In THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                               ASHLEY M. GJQVIK, an z'ndz'vz'duaZ,
                                           P!az'nt   AppeZZant

                                                     v.
                                     APPLE INC ., 0 corporation,
                                           Defendant-Appellee.


                             On Appeal from the United States District Court
                                  for the Northern District of California
                                            No. 3:23-CV-04597
                                 The Honorable ]udge Edward M. Chen



                             APPELLANT'S DECLARATION II:
                           SUccEss & BALANCING oF EQUITIES



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                          DECLARATION II: LIKELIHOOD oF SUCCESS
                    I,      Ashley       Marie        Gjovik,       declare       as       follows :

             This declaration is submitted in support of Appellants' Motion for Injunction

             Pending Appeal, specifically to address the likelihood that Appellants will succeed on

             the merits of their claims. Based on my personal knowledge and professional

             assessment of the legal and factual issues in this case, I believe there is a strong

             probability of success on appeal.


              1.    BACKGROUND AND STATUS AS A CRIME VICTIM &
                    WHISTLEBLOWER

                    I was employed by Apple Inc. from 2015 through September 2021 in various

             high-level program management roles. I was terminated after engaging in protected

             whistleblower activity, including raising concerns internally and externally about

             hazardous environmental conditions, retaliation, and rights violations. I hold a ].D.

             and certificate in Public International Law from Santa Clara University School of

             Law.

                    In early 2020, I resided in an apartment adjacent to Apple's semiconductor

             fabrication facility at 3250 Scott Blvd. in Santa Clara, California. Without informing

             the public, Apple was conducting industrial fabrication activities there under the

             codename "Aria," exhausting toxic chemicals directly into the air and sewer system

             near thousands of residents and a children's playground.

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                    While living next to this facility, I suffered acute and unexplained medical

             symptoms including fainting, cardiac irregularities, neurological dysfunction, skin

             burns, and hair loss. My medical records from that period document these

             symptoms, and my environmental testing detected industrial solvent vapors

             including benzene, acetone, xylene, and other compounds consistent with Apple's

             disclosed emissions.

                       At the time, I was unaware of the nature or existence of Apple's fabrication

             activity. Only in February 2023 did I discover that the facility responsible for those

             emissions was owned and operated by Apple and had been discharging over 7.8 tons

             of VOCs annually, with documented leaks of phosphine, silane, and fluorine gas.

                    I immediately filed regulatory complaints, which led to multiple EPA

             inspections and at least 19 formal violations of the Resource Conservation and

             Recovery Act (RCRA) being cited by the EPA against Apple. The Bay Area Air

             Quality Management District (BAAQMD) later issued violation notices for

             operating without required air permits and exhausting pollutants above allowable

             limits.

                    I also discovered my Apple office, on a CERCLA governed Superfund site, was

             out of compliance with the Land Use Cov. and Record of Decision. I began

             complaining to Apple and U.S. EPA about it. Following my report, the EPA

             acknowledged receipt of my concerns and began an inquiry. This led to an
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             unannounced on-site inspection conducted by the EPA on August 19, 2021 - less

             than six weeks after my complaint.

                     When I began engaging in whistleblowing and speaking to regulators about

             both locations, Apple retaliated against me. This included abrupt termination after a

             workplace "violence" interrogation attempt, denial of internal transfer requests,

             surveillance, false pretextual justification for my firing involving the use of personal

             data.

                     The EPA's follow-up confirmed that my disclosures triggered the inspection

             and guided the agency's review of Apple's compliance. This demonstrates clear

             causation and agency reliance on my protected activity - a key element of "success

             on the merits" in whistleblower retaliation cases. Additionally, subsequent

             enforcement actions (as referenced in agency disclosures and my court filings)

             validate the substantial risk I identified and the public interest my whistleblowing

             served.

                     On August 22, 2021, I submitted a formal revision to Apple's internal "Issue

             Confirmation" process. That document included allegations of racketeering under

             the federal RICO statute, including obstruction of justice, falsification of internal

             records, suppression of employee reports, and coordinated retaliation by senior

             managers across Apple's engineering, legal, and operations teams. I submitted the

             revised version directly to Employee Relations, and I also filed it with Apple's
                                                                                                   5
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             Business Conduct group as a formal complaint on August 23, 2021. Apple terminated

             my employment on September 9, 2021 - less than three weeks later. (See EX. R-22,

             R-23).

                    On August 22, 2021, I submitted a revised Issue Confirmation document to

             Apple Employee Relations, formally alleging retaliation, obstruction, and

             misconduct under federal law. This included claims under Title VII, ADA, OSHA,

             and the RICO Act. I specifically referenced Batterygate-related suppression of field

             defect reports and documented that I had been constructively discharged from my

             role after briefing executive leadership on iPhone battery defects in 2016. I also

             alleged that Apple had used intimidation tactics - including coercive threats and

             retaliatory actions .   in response to my efforts to report these events to federal

             authorities. I submitted this revised version to Apple's Business Conduct office the

             next day, August 23, 2021. Apple terminated my employment on September 9, 2021.

             (See EX. R-22, R-23)

                    Over the past three years, I have submitted multiple charges to the National

             Labor Relations Board (NLRB) related to Apple Inc.'s unlawful suspension,

             termination, surveillance, and retaliation against me for engaging in protected

             concerted activity under the National Labor Relations Act (NLRA) .

                    The NLRB has issued the following merit findings, complaints, and scheduled

             hearings in my favor. In October 2024, the NLRB issued a formal decision of merit
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             finding substantial evidence that Apple's actions in placing me on administrative

             leave and later terminating my employment violated federal labor law. Dkt. 142, Fifth

             Amended Complaint, at 17.

                    In January 2023, the NLRB found that an internal company-wide email sent

             by Apple CEO Tim Cook discouraged protected concerted activity and amounted to

             retaliation. Dkt. 142, at 18

                    In April 2025, the NLRB issued a nationwide complaint and entered into a

             settlement with Apple, after finding its confidentiality, surveillance, and conduct

             policies violated NLRA §8(a)(1). These same policies were used to discipline and

             silence me for raising workplace concerns. Email Exhibit, May 2025

                    Apple produced a Privilege Log which is honestly one of the most

             incriminating things I've ever seen. It not only contradicts most of the their prior

             statements about our dispute, but it appears to facially acknowledge retaliation and

             cover-up conspiracies amongst high level executives, spanning over multiple months.

                    Apple has already faced complaints and charges, and entered into federal

             settlements and agreements, acknowledging the validity of the core conduct

             underlying this appeal.


             11.    PLAUSIBILITY AND PROBABLE CAUSE

                    I respectfully submit that there is probable cause to believe that I have been the


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             target of multiple crimes committed in retaliation for my whistleblower activity and

             protected disclosures, in violation of federal statutes including 18 U.S.C. §§ 1512

             (witness tampering), 1513 (retaliation), and 1962 (RICO). These conclusions are

             based on personal experience, corroborated evidence, admissions by involved

             individuals, and patterns of conduct consistent with federal predicate offenses.

                    My claims include toxic torts, RICO, whistleblower retaliation, HED, and civil

             rights violations. The district court dismissed many claims on procedural grounds or

             based on disputed factual characterizations that must be resolved at trial.

                    I allege that Apple's conduct formed a pattern of racketeering activity within

             the meaning of 18 U.S.C. §§1961-1964. Predicate acts include:

                          O   Fraudulent concealment of hazardous emissions and fabrication
                              activity;
                          O   Witness retaliation (18 U.S.C. §1513) and witness tampering (18 U.S.C.
                              §1512)3
                          O   Obstruction of environmental justice efforts ;
                          O   Mail and wire fraud related to the suppression of environmental risks
                              and investor deception.
                    The allegations are substantiated by government findings, including failure to

             replace scrubbers in the exhaust system for five years; dumping of chemicals

             including arsenic and phosphine into residential zones; fabrication of termination

              justifications following my protected disclosures.


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                    I also allege that Apple used falsified HR processes to justify my firing,

             including invocation of "nudity" images generated from internal tools (e.g., Gobber

             app) and photographed without my knowledge. These images were circulated by

             internal security personnel and used post hoc to justify retaliation - - a key factual

             component of both my RICO and HED claims.

                    Further, I took thousands of internal documents with me when I left Apple

             which I have used to provide the government evidence of wrongdoing by Apple. I

             also have thousands of documents received through FOIA and PRA requests to

             support my claims. The few documents Apple has produced that I did not already

             have, have been incredibly damning - such as drafts of a performance review and

             peer feedback for the period when I was fired that essentially gave me a performance

             improvement plan that required me to stop engaging in protected activity.


            111.    FEDERAL AGENCY ENFORCEMENT CONFIRMS RETALIATION

                    In October 2021, shortly after I filed formal whistleblower and environmental

             complaints with federal and state regulators-including the U.S. EPA, OSHA, SEC,

             and DFEH-Apple placed me on administrative leave, attempted to interrogate me

             under false pretext, and then abruptly terminated my employment. The timing and

             context of these acts demonstrate clear retaliatory motive tied to my protected

             activity.


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                    The National Labor Relations Board has independently investigated and found

             merit to my retaliation claims. In 2023> the NLRB issued a formal complaint against

             Apple for unlawfully suspending and firing me, as well as for making coercive threats

             intended to chill protected speech under the National Labor Relations Act. These

             findings validate my central claims that Apple engaged in coordinated retaliation and

             intimidation in violation of public policy and federal whistleblower statutes.

                    These NLRB findings and litigation further support my RICO claims. The

             retaliation confirmed by the NLRB constitutes a predicate act under 18 U.S.C. §1513

             (retaliation against a witness), especially where it follows disclosures to federal

             regulators and concurrent participation in official investigations. It also bolsters the

             credibility of my broader allegations regarding obstruction of justice, unlawful

             surveillance, witness intimidation, and cover-up of environmental violations.

                    The National Labor Relations Board (NLRB) has independently investigated

             Apple's conduct relating to my employment and found merit to my retaliation claims.

             In 2023, the NLRB issued a formal complaint against Apple for unlawfully

             suspending and firing me in violation of the National Labor Relations Act, and for

             making coercive threats to deter my protected concerted activity. The NLRB's

             General Counsel authorized litigation based on these findings, and the matter

             remains pending before the NLRB's Administrative Law judge.

                    These formal agency findings independently corroborate the facts alleged in
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             my federal complaint. The retaliatory actions-especially termination shortly after

             protected disclosures to regulatory bodies and in the midst of ongoing protected

             whistleblowing-also serve as predicate acts under 18 U.S.C. §1513> supporting my

             RICO and public policy retaliation claims.


            Iv.     DISTRICT COURT ERROR AND NEW EVIDENCE

                    The district court dismissed key claims at the Rule 12(b)(6) stage despite my

             submissions of detailed factual allegations and new evidence. It failed to apply the

             discovery rule to my toxic tort claims, despite my only learning in 2023 of Apple's

             role in my exposure.

                    I have filed declarations, public records, expert findings, and EPA reports

             supporting the existence of harmful exposure and Apple's knowledge of the risks.

             Nonetheless, the district court characterized my claims as implausible or

             inconvenient, without addressing the newly submitted evidence or affording

             discovery.

                    Additionally, the court failed to accommodate my pro se status and PTSD-

             related accommodations despite precedent that requires liberality in pro se

             pleadings, and dismissed claims with prejudice that could have been cured through

             amendment.

                    The government has since acknowledged my role in reporting violations that


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             led to enforcement. I remain a named federal whistleblower, a CVRA-designated

             victim of crime, and have open complaints pending with the U.S. Department of

             Labor, EPA, and the NLRB - facts supporting the seriousness of the retaliation and

             ongoing harm.


             v.     VIOLENT CRIME

                    Between 2020 and 2021, I was repeatedly exposed to hazardous chemical

             substances due to Apple Inc.'s failure to disclose environmental contamination at its

             corporate facilities. While employed as a Senior Engineering Program Manager, I

             worked inside Apple's Sunnyvale office at 825 Stewart Drive, a site with a

             documented history of Superfund-level contamination. Apple never informed me of

             the ongoing vapor intrusion risk nor the site's known history of volatile organic

             compounds (VOCs), such as trichloroethylene (TCE) and arsine gas.

                    At the same time, my home was located next to Apple's Silicon Valley

             semiconductor fabrication facility.in Santa Clara In 2020, I began submitting

             complaints to local and federal authorities about chemical releases and odors. I

             became physically ill following several incidents - including a notable exposure

             event in mid-2021 when my entire apartment reeked of chemicals in the middle of

             the night. I filed reports with the Bay Area Air Quality Management District, EPA,

             and Santa Clara Fire Department. Their records confirmed that Apple operated a


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             high-risk semiconductor facility near residential zones, with limited oversight.

                    After raising these issues internally and externally, Apple retaliated against me

             through launching a retaliatory "workplace violence" investigation hours after I

             submitted complaints to the EPA, SEC, and FBI and firing me shortly after I refused

             to remain silent about the hazards and after confirming that I had filed formal criminal

             complaints with federal agencies.

                    I was informed that the FBI opened a criminal investigation in 2022 related to

             Apple's environmental conduct and that the EPA launched a formal criminal probe

             in 2023-2024. I cooperated with these investigations as a whistleblower and crime

             victim. However, I have received no further updates, and retaliation has only

             intensified during my participation in this civil litigation.

                    The symptoms I experienced are consistent with chemical assault, including

             exposure to compounds known to cause: seizures, internal bleeding, and neurological

             failure. liver and kidney damage.

                    These outcomes parallel injuries from violent crimes. I assert that Apple's

             conduct - intentional or reckless release of hazardous substances, failure to warn,

             and refusal to remediate        constitutes criminal violence under both the Crime

             Victims' Rights Act (CVRA) and Marsy's Law.

                    To this day, I suffer the long-term health consequences of the exposures. I live

             in constant fear that I may develop life-threatening illness due to that period. I have
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             lost access to health care due to Apple's retaliation, and cannot afford medical testing

             to evaluate the full extent of damage. The psychological burden of knowing I was

             poisoned by my employer - and then fired for reporting it - is profound and lasting.

                    I have followed every proper channel. I have waited months and years for

             internal accountability, federal agency review, and now judicial remedy. I am not

             trying to escalate - I am trying to survive the process long enough for this Court to

             decide what the law requires.

                    If the Court decides this is not its role, I have no other path. If retaliation this

             coordinated, this documented, and this unopposed isn't worth appellate protection,

             I genuinely don't know what is.


            VI.     INSTITUTIONAL ABANDONMENT

                    Over the past three years, I have attempted every lawful path available to

             protect myself as a whistleblower. I have filed formal complaints with the EPA, DOL,

             OSHA, NLRB, SEC, EEOC, and multiple state agencies. I have submitted Inspector

             General complaints, FOIA requests, and direct communications with agency leaders

             and committees. I have repeatedly provided evidence of retaliation, witness

             tampering, petiuty, and systemic concealment. Despite all of this, not a single agency

             has taken meaningful action to stop the retaliation, correct the record, or hold Apple

             or its co-conspirators accountable.


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                    My federal whistleblower complaints have been suppressed, stalled, or

             rerouted to internal legal counsel - including cases where agency staff had personal,

             professional, or financial connections to Apple or its outside counsel. In multiple

             instances, agency start left their jobs and were subsequently hired by Apple. One

             EEOC official who likely handled my complaint joined Apple's Employee Relations

             team within months of my filing. At DOL and OSHA, my cases were dismissed

             before investigation - while Apple was secretly included in communications I was

             told were confidential. I was misled about the status of my filings, threatened with

             procedural dismissals, and denied access to basic safety records.

                    In September 2022, I published an open letter titled "Justice atAppZe.° No One

             is Above the Law, " documenting the breadth of this institutional failure. That letter

             outlined retaliation, regulatory interference, unethical coordination between

             government staff and Apple, and the systemic inability of any agency to hold Apple

             accountable. I sent this letter to multiple agency heads, Congressional committee

             staff, and oversight watchdogs. I received no response.

                    Based on this experience, I have no confidence that any agency or internal

             appeals mechanism will protect me. My protected speech has not only been chilled

               - it has been punished, criminalized, and stripped of institutional defense. The only

             remaining option is judicial relief. Without this Court's intervention, the retaliation

             will continue, the reputational damage will deepen, and the public record will remain
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             falsely poisoned by coordinated disinformation. No other body has intervened - not

             because they lack jurisdiction, but because they lack independence.


           VII.       ]UDICIAL CONFLICT & DUE PROCESS BREAKDOWN

                      When an unconstitutional gag order was filed against in me in 2022 based on

             my complaints against Apple, I appealed to the U.S. District Court in that region

             (Seattle, WA) with a request of emergency injunctive relief based on my rights as a

             government witness and whistleblower. The U.S. District Court judge delegated to

             a magistrate judge, but abruptly intervened in the case and dismissed the action on

             jurisdictional grounds (Rooker-Feldman, Anti-Injunction Act), even though you

             were not seeking to relitigate the state judgment, but to protect federal witness rights

             and active legal participation.

                      judge Richard A. Jones dismissed my prior motion for an emergency

             injunction in Gjovik v. State of Washington, is the uncle of Rashida Jones - one of the

             lead producers and actors in Apple TV+'s series Sunny, which began filming in

             Summer 2022, just weeks after your injunction and filings were dismissed. This show

             was:

                  .   Produced by Apple TV+, the same company at the center of your labor and
                      whistleblower claims.
                  .   Co-produced by Rashida ]ones, who has a documented familial relationship
                      with the judge (half-niece) .

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                     In production concurrently with your active litigation and appeals.
                     This temporal and relational overlap raises serious concerns about impartiality

             and conflict of interest under Canon 2 of the judicial Conduct Code, especially given

             Apple's stake in undermining your credibility and silencing your speech during this

             time.

                     The show began filming in mid-2022, at the exact time my case was dismissed.

             judge Jones did not disclose this relationship, nor his former affiliation with

             individuals now employed at Apple's defense firm. I believe this conflict created an

             appearance of partiality under 28 U.S.C. § 455(a), and that his intervention

             substantially undermined my access to justice.

                     I was denied the right to respond to the state's motion to dismiss. The

             presiding judge failed to rule on several federal preemption claims and NLRA

             arguments. The court mischaracterized my position by stating you "sesg/Zed"

             yourself as a federal witness, despite open investigations with multiple federal

             agencies (NLRB, SEC, OSHA) and ongoing whistleblower retaliation cases.


          VIII.      REGULATORY CAPTURE AND INSTITUTIONAL RETALIATION

                     I have personally experienced what legal scholars and economists refer to as

             regulatory capture -     a condition where public agencies and institutions become

             dominated by the private entities they are meant to regulate. In my case, Apple Inc.,

             supported by its legal and political networks, leveraged its influence across federal
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             and state regulators, courts, and affiliated actors to suppress my disclosures, discredit

             me as a whistleblower, and obstruct legal recourse.

                    In 2021, I filed formal complaints with the U.S. EPA regarding toxic chemical

             exposure at my Apple office, which sits on the TRW Superfund site in Sunnyvale,

             CA Rather than investigate independently, the EPA immediately informed Apple of

             my complaints, coordinated meetings with Apple to "strategize" a response, and

             failed to disclose to me that they inspected the site and found safety violations

             information later revealed only through FOIA requests. (Exhibits ], L-M)

                    The EPA refused to answer basic health and safety questions, delayed or

             obstructed FOIA responses, and coordinated media messaging that concealed the

             site's compliance issues. When I escalated the issues, the EPA removed engineers

             from communication and told me all future correspondence would be handled by

             legal counsel, who then declined to answer any substantive questions. (Exhibits ], L-

             M)
                    The EPA's then-Administrator, Michael Regan, visited Apple Park for a public

             "fireside chat" with Apple's VP Lisa Jackson - the former EPA Administrator

             just two days before the EPA inspected my office. Jackson remains a key Apple

             executive and was involved in Apple's internal responses to my complaints. (Exhibits

             J, L-M)

                    In 2021-2022, I filed whistleblower complaints with the U.S. DOL under
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             CERCLA, OSHA, and SOX. Despite my detailed filings, the DOL attempted to

             dismiss my case without investigation, contradicting prior assurances that it had been

             opened. I later learned the DOL possessed EPA records supporting my claims, but

             never disclosed them to me or considered them in their review. (Exhibits ], L-M)

                    Agency officials gave me contradictory and misleading instructions,

             threatened that appealing would notify Apple of dismissal decisions, and even

             attempted to coerce me into withdrawing charges during intimidating phone calls.

                    When I filed an Inspector General complaint, a supervisor informed me my

             cases would likely be dismissed regardless - not based on evidence, but procedural

             positioning. DOL staff also discouraged me from referencing active SEC or EPA

             investigations, despite those being the core of my protected disclosures. I was told

             that any evidence I sent would be forwarded to Apple, discouraging whistleblowing

             even within the process. (Exhibits ], L-M)

                    At the EEOC, a key official handling my case             Bryan Hoss, Intake

             Supervisor - left the agency and immediately joined Apple's Employee Relations

             team, the same team implicated in my retaliation complaints. While still at EEOC,

             Hoss likely had access to my charge. His rapid transition to Apple, and the social

             media celebration by both Apple and EEOC staff, confirms the type of "revolving

             door" influence that undermines trust in regulatory oversight. (Exhibits ], L-M)

                    At the NLRB, the original Region 32 investigator discouraged me from
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             submitting evidence, altered my affidavit, and attempted to silence my testimony.

             After I filed an OIG complaint, multiple staff were recused for conflicts of interest,

             and my case was eventually transferred - but damage had already been done.

                    Their approach - denial, delay, discrediting - mirrors Apple's documented

             historical response to whistleblowers and is consistent with known capture strategies.

             I did not come to these conclusions suddenly. Over the course of 2021-2023, I

             uncovered and documented the systemic failures of multiple agencies and

             institutions in real time - while they were failing me. (Exhibits J, L-M)

                    In mid-2021, I discovered that my office sat on an EPA Superfund site, and

             Apple had failed to inform employees of associated risks. I filed complaints with

             Cal/OSHA and EPA Region 9, and began to notice signs of coordination between

             Apple and the agencies - including when my questions were referred to Apple, or

             when I received copy-pasted responses contradicting facts later revealed via FOIA.

             (Exhibits J, L-M)

                    In late 2021, after I filed NLRB and DOL complaints, I started receiving

             misleading and coercive communications from case handlers. In several cases, I later

             discovered that Apple received communications or evidence I had submitted in

             confidence. At OSHA, my case was closed despite exculpatory evidence in their

             possession. At DOL, I was encouraged to drop my complaint entirely. These actions

             suggested not just bias - but structural compromise. (Exhibits J, L-M)
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                    In early 2022, I realized several agency staftworking on my matters had former

             or future affiliations with Apple or their defense firms (Orrick, Morgan Lewis, etc.) .

             I began filing Inspector General complaints and compiling a record of what I now

             understand to be regulatory capture. By summer 2022, I had mapped what appeared

             to be a pattern: Apple's outside counsel employed multiple former government

             officials, Apple was featured in PR events with regulators, and I could no longer get

             a clear answer from any agency handling my claims. (Exhibits ], L-M)


            IX.     BREAKDOWN OF PROCEDURAL PROTECTIONS AND ]UDICIAL
                    REFUSAL TO INTERVENE

                    Throughout the litigation, I have submitted multiple formal requests to the

             district court for basic protections and case management - all of which have been

             denied, ignored, or functionally reversed in ways that enhanced retaliation rather

             than prevented it.

                    I requested that the Court assign a magistrate to supervise discovery due to

             the nature of the claims and documented harassment. Instead, I was told to meet and

             confer with Apple, and that any dispute could only be raised via a three-page letter

             (1.5 pages per party) with no opportunity to report abuse, raise retaliation, or request

             real-time oversight.

                    I asked for protective conditions regarding depositions, including the ability to

             substitute interrogatories and to avoid being forced to discuss protected activity. The

                                                                                                  21
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             Court denied or ignored these requests and stated flatly that I could not avoid being

             deposed.

                    I raised concerns that Apple was attempting to secure a blanket protective

             order that would retroactively shield their own retaliatory conduct - including their

             assertion that my nude images were "Apple property." I asked that the Court prevent

             abuse of protective orders and reject gagging protected disclosures. The Court

             ignored this and indicated it would likely grant Apple's order.

                    I submitted evidence of ongoing harassment, including social media

             campaigns, third-party interference, and bad faith discovery conduct. I asked the

             Court to investigate, issue warnings, or impose guardrails. The judge ignored my

             submissions, refused to hold Apple accountable, and issued no corrective

             instructions.

                    I asked that the Court schedule regular case management check-ins to prevent

             abuse. Instead, the Court canceled all upcoming management hearings. I asked for a

             trial schedule. The Court refused.

                    A nonparty who was secretly used as a witness by Apple filed multiple letters

             on the docket smearing me, calling for dismissal of my claims, and defending Apple.

             She also attended every hearing under her real name. I asked the Court to close the

             docket to prevent future intimidation and harassment. The Court did nothing.

                    I informed the magistrate judge that Apple was threatening sanctions for
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             future motion filings. I asked whether I was even allowed to file summary judgment,

             or whether I had to wait to be attacked again. I received no assurance, only a warning

             to follow the local rules.

                    I submitted requests for deadline extensions when PTSD and trauma

             symptoms made it impossible for me to meet deadlines. I disclosed panic attacks and

             psychological harm related to Apple's conduct. The judge responded in public

             session that I needed to "do better," and struck or ignored several filings as untimely

             without acknowledging those explanations.

                    The cumulative effect is a procedural environment where Apple is permitted

             to weaponize discovery and court rules against me, while I am denied every basic

             safeguard I've requested - - even those rooted in statutory rights for whistleblowers

             and crime victims. I am not just unprotected. I am actively exposed, and the court

             has made clear it does not intend to intervene.


                                           CONCLUSION
                    For the reasons stated above, I submit this declaration to support the

             conclusion that Appellants have demonstrated a clear likelihood of prevailing in this

             appeal. I declare under penalty of perjury under the laws of the United States of

             America that the foregoing is true and correct. Executed on May 12 2025 at Boston,

             Massachusetts.


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                                                                       Ashley M. Gjuvik
                                                                       /s/ Ashley M. Gjovik
                                                                       Pro Se Appellant




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